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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Venator Chemicals LLC


                                                 Chemical Specialties LLC
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       10001 Woodloch Forest Drive, 600
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       The Woodlands, Texas 77380
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Montgomery County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.venatorcorp.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Venator Chemicals LLC                                               Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2819

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☒      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Venator Chemicals LLC                                                Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.       Debtor        See Rider 1                                      Relationship    Affiliate
    business partner or an
    affiliate of the debtor?                         District      Southern District of Texas
   List all cases. If more than 1,                                                                                  When            05/14/2023
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                         Number        Street



                                                                                         City                               State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☒       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Venator Chemicals LLC                                              Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         05/14/2023
                                                             MM/ DD / YYYY


                                             /s/ Kurt Ogden                                                     Kurt Ogden
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Authorized Signatory




18. Signature of attorney                    /s/ Matthew D. Cavenaugh                                       Date        05/14/2023
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Matthew D. Cavenaugh
                                             Printed name
                                             Jackson Walker LLP
                                             Firm name
                                             1401 McKinney Street, Suite 1900
                                             Number                 Street
                                             Houston                                                                Texas             77010
                                             City                                                                   State               ZIP Code

                                             (713) 752-4200                                                         mcavenaugh@jw.com
                                             Contact phone                                                             Email address
                                             24062656                                            Texas
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Venator Materials PLC.

 Venator Materials PLC
 Venator Americas Holdings LLC
 Venator Chemicals France SAS
 Venator Chemicals LLC
 Venator Finance S.à r.l.
 Venator France SAS
 Venator Germany GmbH
 Venator Group
 Venator Group Canada Inc.
 Venator Group Services Limited
 Venator Holdings Germany GmbH
 Venator International France SAS
 Venator International Holdings UK Limited
 Venator Investments Ltd
 Venator Investments UK Limited
 Venator Materials International UK Limited
 Venator Materials UK Limited
 Venator Materials LLC
 Venator P&A Finland Oy
 Venator P&A Holdings UK Limited
 Venator P&A Spain S.L.U.
 Venator Pigments France SAS
 Venator Uerdingen GmbH
 Venator Wasserchemie Holding GmbH
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    VENATOR CHEMICALS LLC,                                        )   Case No. 23-[____] (___)
                                                                  )
                               Debtor.                            )
                                                                  )

                                      LIST OF EQUITY SECURITY HOLDERS1

                                                                                         Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                          Equity Held
                                              10001 Woodloch Forest Drive, 600, The
              Venator Materials LLC                                                              100%
                                                      Woodlands, Texas




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 VENATOR CHEMICALS LLC,                                       )   Case No. 23-[____] (___)
                                                              )
                           Debtor.                            )
                                                              )

                                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                            Approximate Percentage of Shares Held
              Venator Materials LLC                                       100%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Venator Chemicals LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       05/14/2023                                /s/ Kurt Ogden
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kurt Ogden
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      RESOLUTION OF THE BOARD OF
                                        VENATOR CHEMICALS LLC

                                                May 13, 2023

The undersigned, director of the above listed entity (the “Company”) previously authorized and appointed
(such director, the “Authorized Director”) by the Company’s board of directors (the “Board”) to consider
(i) entry into that certain restructuring support agreement and/or any other agreements, certificates,
instruments, powers of attorney, letters, forms transfer, deeds and other documents in furtherance of a
restructuring transaction or series of transactions by which the Company would restructure its debt
obligations and other liabilities, (ii) the filing of a voluntary petition for relief under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) for the Company, and if
applicable, local proceedings for the Company, pursuant to applicable law and in accordance with the
requirements of the Company’s governing documents and applicable law and (iii) to the extent applicable,
authorizing entry into and performance under the DIP Facility Documents as defined herein ((i), (ii) and
(iii) together, the “Restructuring Matters”), has reviewed and considered certain materials presented by
the management of the Company and the Company’s financial and legal advisors, including, but not
limited to, materials regarding the liabilities and obligations of the Company, its liquidity, strategic
alternatives available to it, and the effect of the foregoing on the Company’s business, and has had
adequate opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to the Company and it was
therefore RESOLVED THAT:


1.       RESTRUCTURING DOCUMENTS

     A. Each Authorized Director has determined that it is in the best interest of the Company, its
        creditors, and other parties in interest for the Authorized Director to authorize the Company to
        (i) enter into that certain restructuring support agreement (the “Restructuring Support
        Agreement”) by and among the Company, certain of its affiliates and certain commitment parties
        and (ii) to authorize the payment of certain fees in connection therewith;

     B. Each Authorized Director acknowledges and believes that the Restructuring Support Agreement
        is procedurally and substantively fair to the Company as contemplated by applicable law and the
        Company’s governing documents, to the extent applicable;

     C. Any Authorized Director or any persons previously authorized and appointed to act as signatory
        on behalf of the Company in respect of the Restructuring Matters (each, an “Authorized Person”),
        acting alone or with one or more other Authorized Persons be, and hereby are, authorized and
        empowered to enter on behalf of the Company into the Restructuring Support Agreement with
        such changes and in such form as the Authorized Person or Authorized Persons executing the
        same shall in his or their absolute discretion deem appropriate;

     D. That each of the Authorized Persons, acting alone or with one or more other Authorized Persons
        be, and they hereby are, authorized and empowered to enter on behalf of the Company into a
        restructuring transaction or series of restructuring transactions by which the Company will
        restructure its debt obligations and other liabilities, including but not limited to the restructuring
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         transactions as described in the Restructuring Support Agreement (collectively, the
         “Restructuring Transactions”);

     E. Each of the Authorized Persons, acting alone or with one or more other Authorized Persons be,
        and they hereby are, authorized and empowered to take or cause to be taken any and all such
        other and further action, and to execute (under the common seal of the Company, if appropriate),
        acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
        documents in furtherance of the Restructuring Transactions to which the Company is or will be a
        party, including, but not limited to, the Restructuring Support Agreement and all agreements and
        documents contemplated thereby (collectively, the “Restructuring Documents”), to incur and pay
        or cause to be paid all fees and expenses and engage such persons, in each case, in the form or
        substantially in the form thereof submitted to the Board, with such changes, additions and
        modifications thereto as the Authorized Persons executing the same shall, in their absolute
        discretion approve, such approval to be conclusively evidenced by such Authorized Person’s
        and/or officer’s execution and delivery thereof; and

     F. Each of the Authorized Persons be, acting alone or with one or more other Authorized Persons,
        and hereby are, authorized, directed and empowered in the name of, and on behalf of, the
        Company to take any and all actions to (i) obtain approval by a court of competent jurisdiction or
        any other regulatory or governmental entity of the Restructuring Documents in connection with
        the Restructuring Transactions, and (ii) obtain approval by any court of competent jurisdiction or
        any other regulatory or governmental entity of any Restructuring Transactions.

2.       VOLUNTARY PETITION FOR RELIEF UNDER APPLICABLE BANKRUPTCY LAW AND SEEKING
         NECESSARY RELIEF

     A. In the judgment of each Authorized Director it is desirable and in the best interest of the Company,
        its interest holders, its creditors, and other parties in interest, that the Company file or cause to
        be filed voluntary petitions for relief (the “Bankruptcy Petitions”) under the provisions of the
        Bankruptcy Code for the Company and any of its subsidiaries and any applicable foreign ancillary
        proceedings for the Company; and in accordance with the requirements in the Company’s
        governing documents and applicable law, hereby consents to, authorizes and approves, the filing
        of the Bankruptcy Petitions and the foreign ancillary proceedings, if any; and

     B. Each of the Authorized Persons, officers of the Company, and/or any persons to whom such
        Authorized Persons and/or officers delegate certain responsibilities, be, and hereby are,
        authorized to execute (under the common seal of the Company, if appropriate) and file, on behalf
        of the Company and its subsidiaries, all petitions, schedules, lists, and other motions, papers, or
        documents, and to take any and all action that they deem necessary or proper to obtain such
        relief, including, but not limited to, any action necessary or proper to maintain the ordinary course
        operations of the Company’s or any of its subsidiary’s businesses.

3.       RETENTION OF PROFESSIONALS

     A. Each of the Authorized Persons, be, and hereby are, authorized, empowered and directed to
        employ: (i) the law firm of Kirkland & Ellis LLP as general bankruptcy counsel, (ii) the law firm of
        Jackson Walker LLP as co-bankruptcy counsel, (iii) Moelis & Company as investment banker, (iv)
        Alvarez & Marsal as restructuring advisor, (v) Epiq Corporate Restructuring, LLC as notice and
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         claims agent, and (vi) any other legal counsel, accountants, financial advisors, restructuring
         advisors or other professionals the Authorized Persons deem necessary, appropriate or advisable;
         each to represent and assist the Company in carrying out its duties and responsibilities and
         exercising its rights under the Bankruptcy Code and any applicable law (including, but not limited
         to, the law firms filing any pleadings or responses) (the “Advisers”); and in connection therewith,
         the Authorized Persons, be, and hereby are authorized, empowered and directed, in accordance
         with the terms and conditions hereof, to execute (under the common seal of the Company, if
         appropriate) appropriate retention agreements, pay appropriate retainers, and to cause to be
         filed appropriate applications for authority to retain such services; and

     B. Each of the Authorized Persons, be, and hereby are, authorized, empowered and directed to
        execute (under the common seal of the Company, if appropriate) and file all petitions, schedules,
        motions, lists, applications, pleadings, and other papers, and to perform such further actions and
        execute (under the common seal of the Company, if appropriate) such further documentation
        that the Authorized Persons in their absolute discretion deem necessary, appropriate or desirable
        in accordance with these resolutions.

4.       USE OF CASH COLLATERAL, DEBTOR-IN-POSSESSION FINANCING, AND ADEQUATE
         PROTECTION

     A. To the extent applicable to the Company, in the in the business judgment of the Authorized
        Directors it is desirable and in the best interest of the Company, its stakeholders, its creditors, and
        other parties in interest to obtain the benefits of (i) the use of cash collateral, as such term is
        defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”), which is security for certain
        of the Company’s prepetition secured lenders (the “Prepetition Secured Lenders”) under certain
        credit facilities by and among the Company, the guarantors party thereto, and the lenders party
        thereto; and (ii) the incurrence of debtor-in-possession financing obligations (“DIP Financing”) by
        entering into a superpriority senior secured debtor in possession term loan facility (the “DIP
        Facility”) consistent with the terms and conditions set forth in the DIP Term Sheet (as defined in
        the Restructuring Support Agreement) (the administrative agent and collateral agent under the
        DIP Facility, the “DIP Agent”);

     B. In order to use and obtain the benefits of DIP Financing and the Cash Collateral, and in accordance
        with section 363 of the Bankruptcy Code, the Company will provide certain adequate protection
        to the Prepetition Secured Lenders (the “Adequate Protection Obligations”) as documented in
        proposed interim and final orders (collectively, the “Financing Orders”) to be submitted for
        approval of the Bankruptcy Court, and, to the extent that the Company is required to obtain
        consent from the Prepetition Secured Lenders to enter into any of the DIP Facility Documents, as
        defined herein, such consent has been (or will be) obtained from the Prepetition Secured Lenders;

     C. In the business judgment of the Authorized Directors, the form, terms, and provisions of the DIP
        Facility and such other agreements, certificates, instruments, receipts, petitions, motions, or
        other papers or documents required to consummate the transaction considered by the Financing
        Orders (collectively, the “DIP Facility Documents”), substantially in the forms circulated to the
        Authorized Directors, and the Company’s execution, delivery and performance of its obligations
        under the DIP Facility Documents, including without limitation the grant of security interests
        under the DIP Facility Documents, and any borrowings or guaranty therewith, be, and hereby are,
        in all respects, authorized and approved;
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D. The Company will obtain benefits from the incurrence of the borrowings under the DIP Facility
   and the other obligations under the DIP Facility and the other DIP Facility Documents which are
   necessary and convenient to the conduct, promotion, and attainment of the business of the
   Company;

E. To the extent applicable, the Company shall be, and is hereby, authorized to enter into the DIP
   Facility Documents and incur the obligations thereunder (the “DIP Obligations”), including the
   borrowing of the loans under the DIP Facility, and other obligations related to the DIP Financing
   and to undertake any and all related transactions on substantially the same terms as
   contemplated under the DIP Facility Documents, including granting liens on and security interests
   in its assets, including the Collateral (as defined in the DIP Facility Documents), to the DIP Agent,
   and each of the Authorized Persons be, and hereby are, authorized, empowered, and directed in
   the name of, and on behalf of, the Company to execute deliver, and perform all of the obligations
   and the transactions contemplated under each of the DIP Facility Documents in the name and on
   behalf of the Company, with such changes, additions, and modifications thereto as such
   Authorized Person shall approve, with such approval to be conclusively evidenced by such
   Authorized Person’s execution and delivery thereof;

F. Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of the
   Company, to take all such further actions, or cause all such further actions to be taken and to
   execute and deliver all such further agreements, documents, instruments, certificates recordings,
   and filings, in the name and on behalf of the Company, as in the determination of such Authorized
   Person shall be necessary, proper, or advisable in order to fully carry out the intent and
   accomplish the purposes of the foregoing resolutions and to consummate the transactions
   contemplated thereby, such authority to be conclusively evidenced by the execution of any
   document or the taking of any such action by such Authorized Person;

G. Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of the
   Company, to enter into any guarantees as described or contemplated by the DIP Facility
   Documents or any other documents, certificates, instruments, agreements, intercreditor
   agreements, any extension amendment, any incremental agreement, or any other amendment
   required to consummate the transactions contemplated by the DIP Facility Documents and
   perform its obligations thereunder and to guarantee the payment and performance of the DIP
   Obligations of the Company and any other guarantor thereunder;

H. Each of the Authorized Persons be, and hereby are, authorized, empowered, and directed in the
   name of, and on behalf of, the Company to incur the DIP Obligations and to approve the use of
   the Cash Collateral pursuant to the Financing Orders, and any Authorized Person be, and hereby
   is, authorized, empowered, and directed to negotiate, execute, and deliver any and all
   agreements, instruments, or documents, by or on behalf of the Company, necessary to implement
   the postpetition financing, including the Adequate Protection Obligations to the Prepetition
   Secured Lenders in accordance with section 363 of the Bankruptcy Code, as well as any additional
   or further agreements for entry into the DIP Facility Documents and the use of Cash Collateral in
   connection with the chapter 11 case, which agreements may require the Company to grant
   adequate protection and liens to the Prepetition Secured Lenders and each other agreement,
   instrument, or document to be executed and delivered in connection therewith, by or on behalf
   of the Company pursuant thereto or in connection therewith, all with such changes therein and
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     additions thereto as any Authorized Person approves, such approval to be conclusively evidenced
     by the taking of such action or by the execution and delivery thereof;

I.   Each of the Authorized Persons be, and hereby are, authorized, directed, and empowered, in the
     name of, and on behalf of, the Company to take such actions and negotiate or cause to be
     prepared and negotiated and to execute, deliver, perform, and cause the performance of, each
     of the transactions contemplated by the DIP Facility Documents and such other agreements,
     certificates, instruments, receipts, petitions, motions, or other papers or required documents to
     which the Company is or will be party or any order entered into in connection with the chapter
     11 case (together with the DIP Facility Documents and the Financing Orders, collectively, the
     “Financing Documents”) and to incur and pay or cause to be paid all related fees and expenses,
     with such changes, additions and modifications thereto as an Authorized Person executing the
     same shall approve;

J.   The Company, as a debtor and debtor-in-possession under the Bankruptcy Code shall be, and
     hereby is, authorized, empowered, and directed to incur any and all obligations and to undertake
     any and all related transactions on substantially the same terms as contemplated under the
     Financing Documents, including granting liens on its assets to secure such obligations;

K. Each of the Authorized Persons, be, and hereby are, authorized, empowered, and directed in the
   name of, and on behalf of, the Company, to execute and deliver any amendments, supplements,
   modifications, renewals, replacements, consolidations, substitutions, and extensions of the
   postpetition financing or any of the Financing Documents or to do such other things which shall
   in his or her sole business judgment be necessary, desirable, proper, or advisable in order to
   perform the DIP Obligations and to give effect to the foregoing resolutions, which determination
   shall be conclusively evidenced by his or her or their execution thereof;

L. Each of the Authorized Persons, acting alone or with one or more other Authorized Persons be,
   and each of them hereby is, authorized, directed, and empowered in the name of, and on behalf
   of, the Company, as debtors and debtors in possession, to file or to authorize the DIP Agent to file
   any Uniform Commercial Code (the “UCC”) financing statements, any other equivalent filings, any
   intellectual property filings and recordation and any necessary assignments for security or other
   documents in the name of the Company that the DIP Agent deems necessary or appropriate to
   perfect any lien or security interest granted under the Financing Orders, including any such UCC
   financing statement containing a generic description of collateral, such as “all assets,” “all
   property now or hereafter acquired” and other similar descriptions of like import, and to execute
   and deliver, and to record or authorize the recording of, such mortgages and deeds of trust in
   respect of real property of the Companies and such other filings in respect of intellectual and
   other property of the Companies, in each case as the DIP Agent may reasonably request to perfect
   the security interests of the DIP Agent under the Financing Orders;

M. Each of the Authorized Persons, acting alone or with one or more other Authorized Persons be,
   and each of them hereby is, authorized, directed, and empowered in the name of, and on behalf
   of, the Company, as debtor and debtor in possession, to take all such further actions, including,
   without limitation, to pay or approve the payment of all fees and expenses payable in connection
   with the DIP Facility and all fees and expenses incurred by or on behalf of the Company in
   connection with the foregoing resolutions, in accordance with the terms of the DIP Facility
   Documents, which shall in their sole judgment be necessary, proper, or advisable to perform any
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         of the Company’s obligations under or in connection with the Financing Orders or any of the
         other DIP Facility Documents and the transactions contemplated therein and to fully carry out the
         intent of the foregoing resolutions;

     N. Each Authorized Person of the Company, any one of whom may take action without the joinder
        of any of the others, is hereby authorized, in the name and on behalf of the Company,
        respectively, to (a) prepare any amendments, waivers, consents, supplements, or other
        modifications under the DIP Facility Documents and/or all other agreements, instruments,
        documents, notices and certificates constituting exhibits to or that may be required, necessary,
        appropriate, desirable or advisable to be executed and delivered pursuant to the DIP Facility
        Documents or otherwise permitted thereunder or related thereto (each an “Additional DIP
        Facility Document”) to which the Company is a party as may be necessary, convenient, advisable,
        desirable or appropriate at any time from time to time, which amendments, waivers, consents or
        supplements may provide for modifications or relief under such agreements or documents and
        may require consent payments, fees or other amounts payable in connection therewith, and (b)
        execute and deliver such amendments, waivers, consents, supplements, or other modifications
        under such agreements or documents as such Authorized Person shall deem to be necessary,
        convenient, advisable, desirable or appropriate, such execution and delivery by such Authorized
        Person to be conclusive evidence of his or her determination and approval of the necessity,
        appropriateness or advisability thereof; and

     O. The signature of any Authorized Person of the Company to each DIP Facility Document, and each
        Additional DIP Facility Document and any amendments, waivers, consents, supplements, or other
        modifications to which the Company is a party shall be conclusive evidence of the authority of
        such Authorized Person to execute and deliver such documents and (b) any person dealing with
        any Authorized Person of the Company in connection with any of the foregoing matters shall be
        conclusively entitled to rely upon the authority of such Authorized Person and by his or her
        execution of any document or agreement, the same shall be valid and binding obligations of the
        Company enforceable in accordance with its terms.


5.       FURTHER ACTIONS AND PRIOR ACTIONS

     A. The Company is hereby authorized to authorize (the Company hereby authorizes) any direct or
        indirect subsidiary of the Company or any entity of which the Company or any subsidiary of such
        Company is the sole member, general partner, managing member, or equivalent manager, as
        applicable, to take each of the actions described in these resolutions or any of the actions
        authorized in these resolutions, and none of the resolutions contained herein, or action taken in
        furtherance hereto, shall have or cause an adverse effect on any such subsidiary or the Company’s
        interest therein (including without limitation, any automatic dissolution, divestiture, dissociation,
        or like event under applicable law);

     B. In addition to the specific authorizations heretofore conferred upon the Authorized Persons, the
        Authorized Persons, either individually or as otherwise required by the Company’s governing
        documents and applicable law, be, and each of them hereby is, authorized to execute (under hand
        or under the common seal of the Company if appropriate), acknowledge, deliver, and file any and
        all agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
        other documents on behalf of the Company relating to the Restructuring Matters;
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     C. Each of the Authorized Persons (and their designees and delegates) be, and hereby is, authorized
        and empowered, in the name of and on behalf of the Company, to take or cause to be taken any
        all such other and further action, and to execute (under the common seal of the Company, if
        appropriate), acknowledge, deliver, and file any and all such agreements, certificates,
        instruments, and other documents and to pay all expenses, including but not limited to filing fees,
        in each case as in such Authorized Person’s or Authorized Persons’ absolute discretion, shall be
        necessary, appropriate, or desirable in order to fully carry out the intent and accomplish the
        purposes of the resolution adopted herein;

     D. Each Authorized Director has received sufficient notice of the actions and transactions relating to
        the matters contemplated by the foregoing resolutions, as may be required by the governing
        documents of the Company, or hereby waives any right to have received such notice;

     E. All acts, actions, and transactions relating to the matters contemplated by the foregoing
        Resolutions done in the name of and on behalf of the Company, which acts would have been
        approved by the foregoing Resolutions except that such acts were taken before the adoption of
        these Resolutions, are hereby in all respects approved, confirmed and ratified as the true acts and
        deeds of the Company with the same force and effect as if each such act, transaction, agreement,
        or certificate had been specifically authorized in advance by resolution of the Board or the
        Authorized Directors, as applicable;

     F. Any Authorized Director or Authorized Person be, and each of them hereby is, authorized to do
        all such other acts, deeds and other things as the Company itself may lawfully do, in accordance
        with its governing documents and applicable law, howsoever arising in connection with the
        matters above, or in furtherance of the intentions expressed in the foregoing resolutions,
        including, but not limited to, the negotiation, finalization, execution (under hand or common seal,
        whether or not expressed to be a deed, as may be necessary or appropriate) and delivery of any
        other agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds
        and other documents whatsoever as the individual acting may in his/her absolute and unfettered
        discretion approve, deem or determine necessary, appropriate or advisable, such approval,
        deeming or determination to be conclusively evidenced by said individual taking such action or
        the execution thereof; and

     G. Each of the Advisers be, and each of them hereby is, authorized to perform all acts in furtherance
        of the resolution approved herein.

6.       APPROVAL OF PARENT COMPANY

     A. The Board acknowledges that the resolutions above shall be subject to and conditional upon
        approval of the chapter 11 case and related resolutions by the board of directors of Venator
        Materials PLC.

                                         [Signature pages follow]
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